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IN 'I‘HE UNITED S'I'ATES DISTRICT COURT
FOR THE WESTER_N DISTRICT OF TENNESSEE
WESTERN DIVISION

 

FRED DELANEY,
Petitioner,

vs. No. Oé-BOOé-Ml/V

DAVID MILLS,

Respondent.

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OR_DER GRANTING LEAVE TO PROCEED §§ FOR_MA PAUPERIS
ORDER CORRECTING THE DOCKET
ORDER OF` DISMISSAL
ORDER DENYING CERTIFICATE OF APPEALABILITY
AND
ORDER CERTIF`YING APPEAL NOT TAKEN IN GOOD E`AITH

 

Petitioner Fred Delaney, Tennessee Department of
Correction prisoner number 135149, an inmate at the West Tennessee
State Penitentiary (“WTSP”) in Henning, Tennessee, filed a pro §§
petition pursuant to 28 U.S.C. § 2254 on December 13, 2004, along
with an application seeking leave to proceed in §Q;ma pauperis.
Based on the information set forth in the Petitioner’s affidavit,
the motion to proceed in forma pauperis is GRANTED. The Clerk shall

record the Respondent as WTSP Warden David Mills.l

 

l Although the petition lists the State of ‘Tennessee as the sole

Respondent, the proper respondent to a habeas petition is the petitioner's
custodian. See Rumsfeld v. Padilla, 124 S. Ct. 2711, 2718 (2004). The Clerk is
ORDERED to remove the State of Tennessee as a party to this action.

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I. STATE COURT PROCEDURAL HISTORY

On or about November 12, 1997, Delaney was convicted
following a jury trial in the Shelby County Criminal Court of
attempted first degree murder, a Class A felony, and being a felon
in possession of a firearm, a Class E felony. A sentencing hearing
was conducted on or about January 23, 1998, at which time Delaney
was sentenced to consecutive sentences of forty (40) years for the
attempted Hmrder conviction and four (4) years on the firearm
conviction. The Tennessee Court of Criminal Appeals affirmed
Delaney's conviction and sentence. State v. Delaney, No. OZCOl-
9804HCR-00105, 1999 WL 360159 (Tenn. Crim. App. June 3, 1999),
perm. app. denied (Tenn. Nov. 22, 1999).

On or about November l7, 2000, Delaney filed a ppg §§
petition pursuant to the then-current version of the Tennessee
Post-Conviction Procedure Act, Tenn. Code Ann. §§ 40-30-201 to -
222, in the Shelby County Criminal Court. Counsel was appointed to
represent Delaney, and the postconviction court conducted an
evidentiary‘ hearing on June 22, 2001. On June 26, 2001, the
postconviction court issued an order dismissing the petition, and
the Tennessee Court of Criminal Appeals affirmed. Delaney v. State,
No. W2002-00496-CCA-R3-PC, 2003 WL 21339006 (Tenn. Crim. App. May

15, 2003), perm. app. denied (Tenn. Oct. 6, 2003).

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II. PETITIONER'S FEDER_AL HABEAS CLAIMS

Although the issues sought to be raised in this federal
habeas petition are not clearly articulated, Delaney appears to
contend that he received ineffective assistance of counsel, that
the evidence was insufficient to support his conviction, and that
the jury should have been instructed on lesser included offenses.
III. ANALYSIS OF THE MERITS

The first issue to be considered is the timeliness of
this petition. 28 U.S.C. § 2244(d) provides:

(l) A l-year period of limitation shall apply to an
application for a writ of habeas corpus by a person
in custody pursuant to the judgment of a State
court. The limitation period shall begin to run
from the latest of-

(A) the date on which the judgment became final by
the conclusion of direct review or the
expiration of the time for seeking such
review;

(B) the date on which the impediment to filing an
application created by State action in
violation of the Constitution or laws of the
United States is removed, if the applicant was
prevented from filing by such State action;

(C) the date on which the constitutional right
asserted was initially recognized by the
Supreme Court, if the right has been newly
recognized by the Supreme Court and made
retroactively applicable to cases on
collateral review; and

(D) the date on which the factual predicate of the
clain1 or claims presented could have been
discovered through the exercise of due
diligence.

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(2) The time during which a properly filed application

for State post-conviction or other collateral

review with respect to the pertinent judgment or

claim is pending shall not be counted toward any
period of limitation under this subsection.

Application of these provisions in this case is
straightforward. State convictions ordinarily become “final” within
the meaning of § 2244(d)(l)(A) at the expiration of the time for
filing a petition for a writ of certiorari from a decision of the
highest state court on direct appeal. Bronaugh v. Ohio, 235 F.3d
280, 283 (6th Cir. 2000). The Tennessee Supreme Court denied review
on November 22, 1999, and, therefore, the statute of limitations
began to run at the conclusion of the time for filing a petition
for a writ of certiorari on February 22, 2000. The running of the
limitations period was tolled pursuant to 28 U.S.C. § 2244(d)(2)
when Delaney filed his state postconviction petition, on November
17, 2000, the date on which his postconviction petition was signed.
Delaney v. State, 2003 WL 21339006, at *l. By that time two hundred
sixty-nine (269) days of the limitations period had elapsed. The
running of the limitations period recommenced at the expiration of
the time for filing a petition for a writ of certiorari concerning
the decision of the Tennessee Court of Criminal Appeals on the
postconviction petition, on January 5, 2004. Abela v. Martin, 348
F.3d 164 (6th Cir. 2003) (en banc), cert. denied, 124 S. Ct. 2388
(2004). Only ninety-six {96) days of the limitations period

remained at the time, and the time for filing a timely § 2254

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petition expired on April l2, 2004. Delaney's petition was not
received by the Clerk until December 13, 2004, and, even if it were
deemed filed, on December 8, 2004, the date on which it was
executed, Miller v. Collins, 305 F.3d 491, 497-98 & n. 8 (6th Cir.
2002); Towns v. United States, 190 F.3d 468, 469 (6th Cir. 1999) (§
2255 motion), it was filed. more than seven months after the
expiration of the limitations period.2

The one-year limitations period applicable tx) § 2254
motions is subject to equitable tolling. Griffin v. Rogers, 308
F.3d 647, 652-53 (6th Cir. 2002); see also Dunlap v. United States,
250 F.3d 1001, 1004 (6th Cir. 2001) (equitable tolling also applies
to § 2255 motions). Five factors are relevant to determining the
appropriateness of equitably tolling a statute of limitations:

(1) the petitioner's lack of notice of the filing

requirement; (2) the petitioner's lack of constructive
notice of the filing requirement; (3) diligence in
pursuing one’s rights; (4) absence of prejudice to the

respondent; and (5) the petitioner's reasonableness in
remaining ignorant of the legal requirement for filing
his claim.

Dunlap, 250 F.3d at 1008.3

 

2 Section 2244(d}(1) provides that the limitations period begins to run

from the latest of the four specified circumstances. In this case, however, an
examination, of Delaney's claims reveals no basis for concluding that the
limitations period commenced at any time later than the date on which his
conviction became final.

3 This five-factor standard is identical to the test used to determine
whether equitable tolling is appropriate in other contexts, including employment
discrimination cases. Amini v. Oberlin Colleger 259 F.Bd 493, 500 (6th Cir.
2001) (citing Dunlap); Truitt v. Countv of Wavne, 148 F.3d 644r 648 (6th Cir.
1998)_

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The Sixth Circuit has repeatedly made clear its view that
“equitable tolling relief should be granted only sparingly.” Amini,
259 F.3d at 500; see also Vroman v. Brigano, 346 F.3d 598, 604 (6th
Cir. 2003); Jurado v. Burt, 337 F.3d 638, 642 (6th Cir. 2003).

Typically, equitable tolling applies only when a

litigant’s failure to meet a legally-mandated deadline

unavoidably arose from circumstances beyond that

litigant's control. . . . Absent compelling equitable

considerations, a court should not extend limitations by

even a single day.
Graham-Humphrevs v. Memphis Brooks Museum. Inc., 209 F.3d 552, 560-
61 (6th Cir. 2000); see also Kinq v. United States, 63 Fed. Appx.
793, 795 (6th Cir. Mar. 27, 2003); Johnson v. U.S. Postal Serv.,
No. 86-2189, 1988 WL 122962 (6th Cir. Nov. 16, 1988) (refusing to
apply equitable tolling when pro §§ litigant missed filing deadline
by one day}. Thus, ignorance of the law by pro §§ litigants does
not toll the limitations period. Price v. Jamrog, 79 Fed. Appx.
110, 112 (6th Cir. Oct. 23, 2003); Harrison v. I.M.S., 56 Fed.
App:<. 682, 685-86 (6th Cir. Jan. 22, 2003); M_ll_lL\L__<MQ 49
Fed. Appx. 495, 497 (6th Cir. Sept. 27, 2002) (“Miller's lack of

knowledge of the law does not excuse his failure to timely file a

 

habeas corpus petition.”); Brown v. United States, 20 Fed. Appx.
373, 374 (6th Cir. Sept. 21, 2001) (“Ignorance of the limitations
period does not toll the limitations period.”); cf. Jurado, 337

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F.3d. at 644-45 (lawyer’s mistake is not a proper basis for
equitable tolling).4

Delaney cannot satisfy his burden of demonstrating that
equitable tolling would be appropriate in this case. lt appears
that Delaney mistakenly assumed that the one-year period for filing
a petition pursuant to 28 U.S.C. § 2254 commences to run, in the
first instance, only after the expiration of time for filing a
petition for a writ of certiorari challenging the decision of the
state courts on the postconviction petition. For the reasons
previously stated, Delaney’s ignorance of the law provides no basis
for tolling of the limitations period.

Because it “plainly appears from the face of the petition
and any exhibits annexed to it that the petitioner is not entitled
to relief in the district court,” summary' dismissal prior to
service on the respondent is proper. Rule 4, Rules Governing
Section 2254 Cases in the United States District Courts. The
petition is DISMISSED.

IV- BEBE£L_;§§QE§
The Court must also determine whether to issue a

certificate of appealability (“COA”). The statute provides:

 

4 See also Cobas v. Burgess, 306 F.3d 441 (6th Cir. 2002) (“Since a
petitioner does not have a right to assistance of counsel on a habeas appeal

, and because an inmate's lack of legal trainingg his poor education, or even

his illiteracy does not give a court reason to toll the statute of limitations

. . , we are loath to impose any standards of competency on the English

language translator utilized by the non-English speaking habeas petitioner.”).

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(1) Unless a circuit justice or judge issues a
certificate of appealability, an appeal may not be
taken to the court of appeals from-

(A) the final order in a habeas corpus proceeding
in which the detention complained of arises
out of process issued by a State court; or

(B) the final order in a proceeding under section
2255.

(2) A7 certificate of appealability may issue under
paragraph (1) only if the applicant has made a
substantial showing of the denial of a
constitutional right.
(3) The certificate of appealability under paragraph
(1) shall indicate which specific issue or issues
satisfy the showing required by paragraph (2).
28 U.S.C. § 2253(c); see also Fed. R. App. P. 22(b); Lyons v. Ohio
Adult Parole Auth., 105 F.3d 1063, 1073 (6th Cir. 1997) (district
judges may issue certificates of appealability under the AEDPA). No
§ 2255 movant may appeal without this certificate.

In Slack v. McDaniel, 529 U.S. 473, 483-84 (2000), the
Supreme Court stated that § 2253 is a codification of the standard
announced in Barefoot v. Estelle, 463 U.S. 880, 893 (1983), which
requires a showing that “reasonable jurists could debate whether
(or, for that matter, agree that) the petition should have been
resolved in a different manner or that the issues presented were
“‘adequate to deserve encouragement to proceed further.'” Slack,
529 U.S. at 484 (quoting Barefoot, 463 U.S. at 893 & n.4).

The Supreme Court recently cautioned against undue

limitations on the issuance of certificates of appealability:

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[O]ur opinion in Slack held that a COA does not require
a showing that the appeal will succeed. Accordingly, a
court of appeals should not decline the application of a
COA merely because it believes the applicant will not
demonstrate an entitlement to relief. The holding in
Slack would mean very little if appellate review were
denied because the prisoner did not convince a judge, or,
for that netter, three judges, that he or she would
prevail. It is consistent with § 2253 that a COA will
issue in some instances where there is no certainty of
ultimate relief. After all, when a COA is sought, the
whole premise is that the prisoner “‘has already failed
in that endeavor.’”

Miller-El v. Cockrell, 537 U.S. 322, 337 (2003) (quoting Barefoot,
463 U.S. at 893). Thus,

A prisoner seeking a COA must prove “‘something more than

the absence of frivolity’” or the existence of mere “good

faith” on his or her part. . . . We do not require

petitioners to prove, before the issuance of a COA, that

some jurists would grant the petition for habeas corpus.

Indeed, a claim can be debatable even though every jurist

of reason might agree, after the COA has been granted and

the case has received full consideration, that petitioner

will not prevail.
Id. at 338 (quoting Barefoot, 463 U.S. at 893); see also id. at 342
(cautioning courts against conflating their analysis of the merits
with the decision of whether to issue a COA; “The question is the
debatability of the underlying4 constitutional claim, not the
resolution of that debate.”).5

In this case, there can be no question that any appeal by

this Petitioner on any of the issues raised in this petition does

 

5 By the same token, the Supreme Court also emphasized that “[o]ur
holding should not be misconstrued as directing that a COA always must issue.”
Lgp at 337. Instead, the COA requirement implements a system of “differential
treatment of those appeals deserving of attention from those that plainly do
not.” Id.

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not deserve attention because the petition is plainly time barred.
The Court, therefore, DENIES a certificate of appealability.

The United States Court of Appeals for the Sixth Circuit
has held that the Prison Litigation Reform Act of 1995 (“PLRA”), 28
U.S.C. § 1915(b), does not apply to appeals of orders denying §
2254 petitions. Kincade v. Sparkman, 117 F.3d 949, 951 (6th Cir.
1997); cf. McGore v. Wriqqlesworth, 114 F.3d 601 (6th Cir. 1997)
(instructing courts regarding proper PLRA procedures in prisoner

civil-rights cases). Rather, to seek leave to appeal pp forma

 

pauperis in a § 2254 case, and thereby avoid the $255 filing fee
required by 28 U.S.C. §§ 1913 and 1917,6 the petitioner must seek
permission from the district court under Rule 24(a) of the Federal
Rules of Appellate Procedure. Kincade, 117 F.3d at 952. If the
motion. is denied, the petitioner` may renew the Inotion in the
appellate court.
Rule 24(a) of the Federal Rules of Appellate Procedure

states, in pertinent part, that:

A party to an action in a district court who desires to

proceed on appeal ip forma pauperis shall file in the

district court a motion for leave to so proceed, together

with an affidavit, showing, in the detail prescribed by

Forn14 of the Appendix of Forms, the party's inability to
pay fees and costs or to give security therefor, the

 

5 Effective November 1, 2003, the fee for docketing an appeal is $250.
See Judicial Conference Schedule of Fees, I l, Note following 28 U.S.C. § 1913.
Under 28 U.S.C. § 1917, a district court also charges a $5 fee:

Upon the filing' of any separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing, or
notice of the allowance of, an appeal or of a writ of certiorari 55
shall be paid to the clerk of the district court, by the appellant
or petitioner.

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party's belief that that party is entitled to redress,

and a statement of the issues which that party intends to

present on appeal.
The Rule further requires the district court to certify in writing
whether the appeal is taken in good faith. For the same reasons the
Court denies a certificate of appealability, the Court determines
that any appeal in this case would not be taken in good faith. It
is therefore CERTIFIED, pursuant to Fed. R. App. P. 24(a), that any

appeal in this matter by this Petitioner is not taken in good

faith, and he may not proceed on appeal ip forma pauperis.

IT 18 SO ORDERED this 11 day of May, 2005.

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JON PHIPPS MCCALLA
UN ED STATES DISTRICT JUDGE

    
  

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Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
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Honorable .1 on McCalla
US DISTRICT COURT

